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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 CHRISTOPHER MORALES, MARY                          §
 HELEN MORALES,                                     §
            Plaintiffs,                             §
                                                    §               SA-22-CV-00527-XR
 v.                                                 §
                                                    §
 SPECIALIZED LOAN SERVICING, LLC,                   §
             Defendant.



                                        SCHEDULING ORDER

        The disposition of this case will be controlled by the following order. If a deadline set in
this order falls on a weekend or a holiday, the effective day will be the next business day.

        MOTIONS FOR LEAVE TO AMEND PLEADINGS

        The deadline for Plaintiff(s) to file a motion seeking leave to amend pleadings; or to join
parties is September 30, 2022.

       The deadline for Defendant(s) to file a motion (1) to designate responsible third parties,
pursuant to Texas Civil Practices & Remedies Code § 33.004(a); (2) seeking leave to amend
pleadings; or (3) to join parties is October 14, 2022.

        EXPERTS

       All parties asserting claims for relief shall file their designation of testifying experts and
serve on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B) on or before
February 13, 2023.

        Parties resisting claims for relief shall file their designation of testifying experts and serve
on all parties, but not file, the materials required by FED. R. CIV. P. 26(a)(2)(B) on or before March
13, 2023.

        All parties shall file all designations of rebuttal experts and serve on all parties the material
required by Fed. R. of Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already served,
within fifteen (15) days of receipt of the report of the opposing expert.

        An objection to the reliability of an expert’s proposed testimony under Federal Rule of
Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony, within eleven (11) days from the receipt of the written

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report of the expert’s proposed testimony, or within eleven (11) days from obtaining a copy of the
expert’s deposition, if a deposition is taken, whichever is later.

       The deadline for filing supplemental reports required under FED. R. CIV. P. 26(e) is August
1, 2023.

       WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

       The deadline for filing Rule 26(a)(3) disclosures is July 28, 2023.

       The deadline for filing objections under Rule 26(a)(3) is August 11, 2023. Any objections
not made will be deemed waived.

       COMPLETION OF DISCOVERY

       Written discovery requests are not timely if they are filed so close to this deadline that
under the Federal Rules of Civil Procedure the response would not be due until after the deadline.

       The deadline for the completion of all discovery is May 22, 2023.

       ALTERNATIVE DISPUTE RESOLUTION/MEDIATION

       The parties must mediate this case on or before July 10, 2023 and file a report in
accordance with Rule 88 within seven days after the mediation is completed.

        All offers of settlement are to be private, not filed. The parties are ordered to retain the
written offers of settlement and response as the Court will use these in assessing attorneys' fees
and costs at the conclusion of the proceedings.

       If a settlement is reached, the parties should immediately notify the Court so the case may
be removed from the Court’s trial docket.

       PRETRIAL MOTIONS

        No motion (other than a motion in limine) may be filed after this date except for good
cause. The deadline to file motions (including dispositive motions and Daubert motions) is June
19, 2023. This deadline is also applicable to the filing of any summary judgment motion under
FED. R. CIV. P. 56 and any defense of qualified immunity. Leave of court is automatically given to
file motions, responses, and replies not to exceed 30 pages in length. FED. R. CIV. P. 6(d) does not
apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.




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        JOINT PRETRIAL ORDER AND MOTION IN LIMINE

        The deadline to file a Final Joint Pretrial Order and any motion in limine is August 25,
2023.

       All attorneys are responsible for preparing the Final Joint Pretrial Order, which must
contain the following:

        (1) a short statement identifying the Court’s jurisdiction. If there is an unresolved
        jurisdictional question, state it;

        (2) a brief statement of the case, one that the judge could read to the jury panel for an
        introduction to the facts and parties;

        (3) a summary of the remaining claims and defenses of each party;

        (4) a list of facts all parties have reached agreement upon;

        (5) a list of contested issues of fact;

        (6) a list of the legal propositions that are not in dispute;

        (7) a list of contested issues of law;

        (8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
        examination by opposing counsel. All documentary exhibits must be exchanged before the
        final pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit
        is objected to or whether there are no objections to the exhibit;

        (9) a list of the names and addresses of witnesses who may be called with a brief statement
        of the nature of their testimony;

        (10) an estimate of the length of trial;

        (11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
        proposed charge, including instructions, definitions, and special interrogatories, with
        authority;

        (12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions
        of law, with authority;

        (13) the signatures of all attorneys; and

        (14) a place for the date and the signature of the presiding judge.




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       FINAL PRETRIAL CONFERENCE

       The Final Pretrial Conference shall be held on September 7, 2023 at 10:30 a.m.

        Motions in limine, if any, will be heard on this date. Counsel should confer prior to this
hearing on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending
to use a demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to
the Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

       TRIAL

       The Jury Trial Date is September 18, 2023 at 10:30 a.m.

       It is so ORDERED.

       SIGNED this August 19, 2022




                                            _________________________________
                                            XAVIER RODRIGUEZ
                                            UNITED STATES DISTRICT JUDGE




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